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                                AGENDA
BOARD OF ESTIMATES                                           03/14/2012

Department of Housing and      – Supplemental HOME Loan
  Community Development (DHCD)

ACTION REQUESTED OF B/E:

The Board is requested to approve a supplemental HOME Investment
Partnership Program loan to Coppin Heights CDC (CHCDC). The
Board is further requested to authorize the Commissioner of the
Department of Housing and Community Development to execute any
and all documents to effectuate this transaction SUBJECT to
review and approval for form and legal sufficiency by the
Department of Law.

AMOUNT OF MONEY AND SOURCE:

$90,000.00 – 9910-905094-9610

BACKGROUND/EXPLANATION:

On February 7, 2011, the Board approved a HOME Investment
Partnerships Program loan to the CHCDC in the amount of
$120,000.00 (the original loan). The CHCDC is a non-profit
organization established on February 2, 1995 to assist in the
revitalization of the community. The proceeds of the original
HOME loan were used to assist the CHCDC with a portion of the
construction costs of the Coppin Heights Homeownership project,
which consisted of three units: 1) 2777 W. North Avenue, 2) 2779
W. North Avenue, and 3) 2781 W. North Avenue. The project
incorporates energy efficient appliances, granite counter tops,
and front and rear porches on each 1,300 square foot townhome.
All three units are being sold to first-time homebuyers at or
below 80% of the Area Median Income. The townhouses were
originally to be sold at a price range of $125,000.00 -
$130,000.00. The proceeds of the original HOME loan were used to
support a portion of the hard construction costs and are secured
by a second lien during the construction period.




                                               Exhibit 36 to
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                                               Verified Complaint
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DHCD – cont’d

Appraisals were prepared by Paul Lee and Associates indicating
an “as completed” value of:

     $130,000.00 for 2777 W. North Avenue,
     $135,000.00 for 2779 W. North Avenue, and
     $140,000.00 for 2781 W. North Avenue,

As a result of the appraisal, the sales prices were set at the
appraised value.

Due to the current financial conditions, the housing market has
been   substantially  depressed;   the  CHCDC   is  seeking  the
supplemental funding to provide a homebuyer subsidy to further
write-down the purchase price of the three for-sale townhomes to
an affordable price within the CHCDC market area. The new prices
for 2777 W. North Avenue, 2779 W. North Avenue, and 2781 W.
North Avenue will be sold for $105,000.00 each.

Participating Parties:

A. Developer – Coppin Heights CDC

B. General Contractor/Architect

   Harris Kupfer Architects, Architect
     The Michael’s Group, General Contractor
     The general contractor has posted a            100%   Payment     and
     Performance                                                     Bond.

C. Participating Lenders

  Coppin Heights CDC Equity (revolving          construction   loan)    –
  Construction 1st Lien Position

  The developer is contributing cash and HUD grant funds during
  the construction period as required to cover hard and soft
  costs of the project; terms and conditions of disbursement
  will be defined in the HOME loan security instruments and
  project draw schedule. A Housing and Urban Development
  Historically Black Colleges and Universities grant has already
  been disbursed.   The CHCDC has established a revolving loan
  fund, funded by its own equity, in the amount of $300,000.00
  to construct the project (construction lender). The Borrower
  has borrowed funds from the revolving loan fund to construct


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DHCD – cont’d

  each house and will pay back such loan upon the sale of each
  unit from the proceeds of the sale. Due to the current
  depressed housing market conditions, the proposed purchase
  prices consistent with the current market would not generate
  enough funds to repay the CHCDC’s revolving loan fund.
  Therefore, the CHCDC has asked the Department for a
  supplemental loan in the amount of $90,000.00 to assist each
  homebuyer and to write-down the purchase price.

  Baltimore     City   HOME   Loan   –   Construction   2nd   Lien   Position

  The Supplemental HOME Loan will have the same construction
  period as the original HOME Loan and an interest rate of 0%
  per annum on sums advanced. As the units are sold to qualified
  buyers (Buyer), each Buyer will assume a portion of the
  obligations of the original HOME Loan (the Buyer’s Share) and
  the Borrower will be released from a pro rata portion of the
  original HOME Loan and Supplemental Loan. The Buyer’s Share
  will be evidenced by a promissory note and other security
  instruments and structured as a deferred loan. If each Buyer
  complies with all applicable terms and covenants of the loan
  documents for a 15-year period of affordability, the payment
  of the outstanding principal will be forgiven. In the event a
  conveyance occurs during the period of affordability, such
  Buyer will repay the Department all or a portion of its loan
  out of net proceeds. The Supplemental HOME Loan will be non-
  recourse debt.

  The Department will continue to be entitled to a 50% share of
  any and all excess sales proceeds after the developer (i)
  earns no more than 10% in profit and overhead based on a cost
  certification,   and   (ii)  is   reimbursed   for   documented
  predevelopment overhead on the project for such items, in such
  amounts and for such periods as approved by the Department.




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